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U N IV E RSITY                                                    OFFICE OF INSTITUTIONAL EQUITY




                                     UNIVERSITY INVESTIGATOR'S REPORT


           TO:                  Dr. Katherine Sermersheim, Dean of Students

           FROM:                Erin N. Oliver, Associate Direct0r, Office oflnstitutional Equity~
                                Jacob L. Amberger,. Investigator, Office of Institutional Equity Ji.A'

           DATE:                May20,2016

           RE:                  University/                Complaint


           I.        Investigators' Charge

           On April 11, 2016, Dr. Katherine Sermersheim, Dean of Students, appointed Erin N.
           Oliver, Associate Director, Office oflnstitutional Equity, and Jacob L. Amberger,
           Investigator, Office of institutional Equity, as the University Co-Investigators in the
           F01mal Complaint initiated ·by Pmdue University pursuant to.the Formal Resolution
           Process of the Procedures for Resolving Complaints of Discrimination and
           Harassment ("Procedmes"). The complaint alleged tha
           undergraduate student, was sexually harassed by                      undergraduate
           student, in violation of the University's Anti-Harassment Policy (III.C.1). The
           allegations included sexual harassment (specifically, sexual violence). An extension
           request to complete the investigation and was requested and granted until May 20,
           2016.

           II.        Relevant Provisions

           Anti-Harassment (IILC.1)

           Purdue University is committed to maintaining an environment that recognizes the
           inherent worth and dignity of every person; fosters tolerance, sensitivity,
           understanding and mutual respect; and encourages its members to strive to reach their
           potential. The most effective way to work toward preventing Harassment is through
           education that emphasizes respect for every individual.

            Harassment in the workplace or the educational environment is unacceptable conduct
            and will not be tolerated. Purdue University is committed to maintaining an
            educational and work climate for faculty, staff and students that is positive and free



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                                                                                                                 PU 0120
            An Equal Access/Equal Opportunity University

                                                       EXHIBIT F
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            from all forms of Harassment. This policy addresses Harassment in all forms,
            including Harassment toward individuals with legally protected status for reasons of
            race, gender, religion, color, age, national origin or ancestry, genetic inf01mation or
            disability and Harassment toward individuals for other reasons such as sexual
            orientation, gender identity, gender expression, marital status or parental status.

            Harassment is conduct towards another person or identifiable group of persons th.at
            has the purpose or effect of:

                           • Creating an intimidating or hostile educational environment, work
                             environment or environment for pruticipation in a University
                             activity;
                           • Unreasonably interfering with a person's educational envfronment,
                             work environment or environment for patticipation in a University
                             activity; or
                           • Unreasonably affecting a person's educational or work
                             oppo1tunities or pa1ticipation in a University activity.

            Use of the term Harassment includes all fo1ms ofharassment, including Racial
            Harassment and Sexual Harassment.

            Sexual Harassment is:

                        A. Any act of Sexual Violence.
                        B. Any act of Sexual Exploitation.
                        C. Any unwelcome sexual advance, request for sexual favors or other
                           written, verbal or physical conduct of a sexual nature when:
                               1. Submission to such conduct is made either explicitly or
                                   implicitly a term or condition of an individual's employment,
                                   education or participation in a University activity;
                               2. Submission to, or rejection of, such conduct by an individual is
                                   ·used as the basis for, or a factor in, decisions affecting that
                                    individual's employment, education or paiticipation in a
                                    University activity; or
                               3. Such conduct has the purpose or effect of unreasonably
                                    inte1fering with an individual's employment or academic
                                    perfo1mance or creating an intimidating, offensive or hostile
                                    environment for that individual's employment, education or
                                    participation in a University activity.

             Sexual Violence is any non-Consensual sexual act, including but not limited to rape,
             sexual assault, sexual battery and sexual coercion. Sexual Violence also includes
             Relationship Violence. Examples of Sexual Violence include, but are not limited to:



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                          •   Non-Consensual sexual contact: touching, with any body pa1t or
                              object, another person's intimate parts (e.g., genitalia, groin, breast,
                              buttocks), whether clothed or unclothed.
                          •   Non-Consensual sexual intercourse: oral, anal and/or vaginal
                              penetration, to any degree and with any body pa11 or object.
                          •   Compelling a person to touch his or her own or another person's
                              intimate parts without Consent.

            Co11sent/Conse11s11al is defined as affirmative, clear communication given by words
            or actions that shows an active, knowing and voluntary agreement to engage in
            mutually agreed-upon sexual activity. Consent is given freely and voluntarily.
            Consent may not be inferred from silence, passivity or when an individual is
            Incapacitated or otherwise prevented from giving Consent as a Iesult of impahment
            due to a mental or physical condition or age. No Consent exists when there is a threat
            of force or physical or psychological violence.

            Although Consent may be given initially, it may be withdrawn at any point without
            regard to activity preceding the withdrawal of Consent.

            The voluntary nature of Consent will be subject to heightened scrutiny in
            circumstances in which a person engages in a sexual relationship with a person over
            whom he or she has any power or authority within the University.

            Retaliation is prohibited and is defined as any overt or cove1t act of repiisal,
            interference, restraint, penalty, discrimination, intimidation, or harassment, against
            any person or group for exercising rights under this policy.

            III.        Interviews and Document Review
                   1.                            Respondent), undergraduate student, computer
                              ics technolo   , Purdue Polytechnic Institute
                   2.                                  ndergraduate student, biology, College of

                   3.                        undergraduate student, mechanical engineering, College of
                      Engineering
                   4. -            undergraduate student, nuclear engineering, College of
                      Engineering
                   5. Christopher Fox, undergraduate student, computer information technology,
                      Purdue Polytechnic Institute
                   6.                    undergraduate student, political science, College of Liberal
                      Arts
                   7. Ch.dstine Joehl, undergraduate student, retail management, College of Health
                       & Human Sciences
                   8.                   undergraduate student, computer science, College of Science

             Pursuant to this complaint, we also reviewed the following documents/info1mation:

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                  l. Text messages

            IV.      Allegations

           The University elected to exercise its right to investigate the allegations of sexual
           harassment. Specifically, it is alleged that during or around November 2015, while
           - w a s sleeping in               room, he touched her intimate parts without her
           permission. He later admitted to her that he digitally penetrated her vagina while she
           was a s - ·    · rnom in early November. It is also alleged that          threatened and
                                             1
            chased         with a stun gun type device down a hallway in his residence hall.

            V.       Background

                             is a freshman studying biology and pre~med in the College of
            Science. She is also a member of the Naval Reserve Officer Training Corps
            (NROTC).

                             is a freshman studying computer graphics technology in the Purdue
            Polytechnic Institute. He is also a member of the Naval Reserve Officer Training
            Corps (NROTC).

           -and             met through the NROTC program during Boiler Gold Rush (BGR)
           in August 2015. They began a romantic relationship in late August or early
           September 2015. The relationship ended in January 2016.

            VI.      Analysis & Findings

            -reported that when she and                  first met in early August 2015, they were
             friendly and helped each other with their NROTC dress ·                They also rep01ted
             that they worked out together. When they began to dat                 reported that their
             relationship was "great." Within a few months               reported that       became
             "clingy." She rep01ted that he always wanted to stay overnight in her room or wanted
             her to come to his rnom and stay overnight. She repo1ted that if she did not want to
             spend time with h i m ~ challenge her and question her as to why she didn't
             want to be with him.-also reported that                   had a terrible temper. She
             reported that although his outbursts were never directed towards her, his conduct
             would malce her uncomfortable. She rep01ted that he would become upset over
             simple, "common things." For example, ifhe received a text message that he did not
             like or was late for something, he would yell and curse.          denied "having a
             temper." He reported that if he was upset about s o ~ would tend to become
              quiet.      repo1ted that his dating relationship w i t h - was his first serious

             1 A stun gun (or electroshock device) is used for incapacitating a person by administering electric

             shock aimed at disrupting superficial muscle function and/or causing pain without significantly hm1ing
             the subject. Taser is a brand name.

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            girlfriend, and he wanted to spend time with her.          roommate repo1ted that he
            has never observed        lose his temper or raised his voice in anger or frustration.
            He repo1ted that if he overslept,      would make statements such as, "Why does this
            always happen to me?" in a n01mal tone. His roommate did repo1t that he and
            had an agreement to wake the other if they were going to be late for something, and if
            he did not wake him up,         would question him as to why he didn't follow
            through with their agree. However, he reported that         had never yelled at him.
            Another witness repmted that         seems "awkward" in social settings, but he has
            never caused her to feel uncomfo1table and has never been observed losing his
            temper.

           - a l s o rep01ted being concerned with                  ownership of a "Taser." She
            alleged that he threatened her with it and chased her with in the residence hall.
            repo1ted that he actually owned a stun baton that he purchased online. He purchased
            the device because his room was on the first floor of his residence h ~ found
            the room's window damaged as if someone was trying to gain e n t r y _
            reported that         h a - s h e had a stun device, and she told him that she did
            and showed it to him.              rep01ted that she was in          room when she
            picked up the stun baton. She believed the battery was dead so she turned on t11e
            device in a joking manner and directed it toward            When the device actually
            activated as she pushed the button, she realized it was live and put it down. She
             rep01ted that        picked it up and activated it and pointed it toward her. She
            rep01ted that she ran down the hallway to get away from him, and             followed with
             the device still active. She stated that she knew the devise w ~ a u s e she
             could hear it made the clicking sound of an active stun device.-repo1ted that
             she had spoken with            roommate, and he told her that         had shocked him
             with t h e ~ on two occasions while he was sleeping.                   admitted to
             s h o w ~ t h e stun baton and activating it. He denied ever chasing her with it
             or acting, even in a joking manner, as ifhe was going to touch it to her.         did
             admit that he and his roommate had ''jabbed" each other with the baton on several
             occasions, always in a playful manner.             roommate repo1ted that he and
             had shocked each other a "couple of times" with the stun baton. He stated that the
             shocks were consensual and always in joking manner. He reported that typically they
             shocked the other to wake them up as their alarms went off. He reported that they
             stopped shocking each other because it "got old." The roommate r e p o r ~
             knew of one occasion that          had the stun baton out and was s h o w i ~ a s
                        d in the hallway. He reported that        activated the stun baton and

            M   p
                        stated, "Don't do that." He stated t h
                       that he did not observed
                                                                       p t l y turned it off. He
                                                       c h a s i ~ with t h e - a t any
             time. The roommate reported that he did hlllrsation wi ·                         fter she
              saw the stun baton. He reported that he tol              hat        ha s oc e him on
              one occasion when          thought he was missmg a c ass. However, the roommate
              repo1ted that had class was canceled, so he was upset that          had shocked him and
              woken him up for no reason.. However, he did repo1ted that            was not aware that
              his class had been cancelled.

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              Nonconsensual Touching

          -            and      repo1ted conflicting dates on the incidents of nonconsensual
              touching. -believed the incident took place in late November 2015, while
                    beli~mcident took place around December 13, 2015. The following is a
              summary of their recollection of the incident with the date range each believed it took
              place.

           -repo1ted that in late November 2015, after                   requested she come to his
           ~ e went to watch a movie. She repo1ted that                     roommate was asleep in
            his bed, and she fell asleep on a futon in the room.         was lying on the floor when
            she fell asleep. She woke up, and           had his hand between her legs, over her
            clothing, as he was still lying on the floor. She rep01ted that he placed his hand on
            her leg above her knee and moved it towards her "crotch" area. She reported that his
            hand reached her crotch area and stopped. She repo1ted that she immediately moved
            away from the futon, left his room, and retumed to her room. Later that day,
            sent her a text:!!iess  e asking if she was okay. She did not respond. Several days
            after the incid               repo1ted that she met with        for lunch. She reported
            the conversation during e meal was normal and then went to his room to talk. Once
            in his r o o ~ asked if                was going to apologize to her.        responded
            that he did f ~ touching her and did not know what was on his mind while he
            was doing it ~ s k e d                if he had touched~while she slept, and
            he responded, "Well, I felt bad."          then relayed t ~ a t earlier in
            November when she was asleep in his room, he digitally penetrated her vagina. He
            told her that she woke up and thought she was having a bad dream. He reported that
            he p l ~ that she had just had a bad dream and did not tell her what he had
            done. . . .repol1ed that she had no recollection of the event. She reported that
                 e d , "We've done stuff before,'' and "I don't understand why you're upset."
           -·epol1ed that she was upset by                      disclosure and decided to leave his
             room.         escorted her out.

                    repo1ted that aro              her 13, 2015~ade statements to him that
              led him to believe th               was considering suicide. He reported that he was
                          about            so a few days after the statements were made, he invited
                         o his residence hall room to watch a movie. While watching the movie,
                        laid on a futon,, and        laid next to her on the floor.         repmted that he
              simply reached up from the floor and placed his hand on her leg, j ~ r lmee,
              out of affection and concem. He repo1ted that as soon as he did so-woke up,
              became very upset, and left the room without saying a word. He repo1ted that they
              never spec~ke about the incident or her reaction. He denied ever digitally
              penetrati~or t o u - ·in a sexual way while she slept. He repo1ted that
              sometime after the inciden                told       that she did not like it when he
              touched her as she slept, and he stopped doing that after she expressed the concern.
              B o ~ and                  repo1ted that          roommate was asleep in the room

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           during this incident.        roommate reported that he was asleep w h i ~
           was in the room, and he woke up as s ~ k i n g out of the room. He reported
           that he did not see anything occur, ~ did not appear to be upset.

           -rep01ted that they shared text messages for a p·p r ·ne week into
           Decembel'. In the text messages,       became angry wi             when she
           expressed concern about the prior interactions. In response to er anger, he stated, "I
            said I'm sony. What more do you want me to do?" "Forgive me. I didn't know
           what I was doing." "Why can't you get over it? I said I was son-y."

           In a message thread on December 23, 2015,            states, "Im so sony I did what I did
           to you. I just cant change it no matter how much I want to, im just messed up and im
           a teni.ble person." When asked by investigators for the context of the message, he
           explained that he was apologizing because he had not been truthful with her about his
           academic performance. He reported that he was neglecting his own school work to
           help her on her own work, but did not t e - i t . However, when he told her
           that he had his own work to catch up on,               as upset that he had not been
           honest with her about work he needed to comp ete. When he was pressed ftnther, he
           reluctantly con:fumed that he was a l s ~ t o the incident around December 13,
           2015, in which he placed his hand ~ leg, and she woke up sta1tled. He
           continued to deny that he touched her crotch while she was sleeping and insisted that
           he had merely placed his hand on her thigh, above her knee but below her crotch. He
            stated th            ·zed because she was still very upset about the incident. In those
           messages             is suppo1tive of        telling him that he can change, and she can
            forgive him.            reported that she felt      was apologizing for lying to her
            about putting off his own schoolwork to help her. All the texts messages they shared
            prior to December 28, appeared to be normal and of a friendly nature. See attached
            copy of the message thread.

            In a message thread on December 28, 2015    .-iiand             are 'talking about their
            relationship.         ~ that he often thought about leaving school and becoming a
            missionary, ~ r e s p o n - is not comfortable talking to him at that
            moment.         replied and aske           how she would feel ifhe walked away
            from her every time something upset       or ignored her when he asked her what was
            wrong, as she was doing to him at that time. Wh~replied t h
            wanted to respond that way, he could,       replied that he was "done."_
            replied that she did become upset when        will not leave her alone about things.
            The following messages were sent:

                        'Or when I wake up to you touching me or I'm trying to do something and
                         ch me I literally can't trust you if you don't respect my boundaries."

                   "We already went over this several t imes. I cant even apologize any more
             because you get angry at me for it."


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          -     "No I get angry because you continue to do it and just say sony you don't
          ~ a n g e anything"

                   "Im not going in circles any m o r ~ What more do you want me to say?
           Do you want this to be over? We have literally tallced about this for a week and I
           already told you I cant change what i did, only what i will do from here on out. Do
           you want me to feel shitty for the rest of my life because of what I did? Im feeling
           like i will. Im sorry. I cant change what i did, as much as i want to. I violated you and
           never should have. What do you want me to do?"

                 initially explained to investigators that his statement of "violating'~as
           in reference to her learning that he had not been truthful with her about his academic
           pe1formance. He rep01ted that he was neglecting his own school work to ~
           her own work. When he told her that he had his own work to catch up o n -



           December 13, 2015, in which he placed his hand on
                                                                 r··
           was upset that he had not been honest with her about work he needed to complete.
           When he was pressed finiher about-statement of her waking up to him
           touching her, he reluctantly confi1m~was                          he incident around
                                                                             leg, and she woke up
           startled. He continued to deny that he touched her crotc w 1 e she was sleeping and
           insisted t h ~ e r e l y placed his hand on her thigh, above her knee, but below
           her crotch.-rep01ted that she believed                   was apologizing for the
           inappropriate touching incidents.

           In a message thread from January 14, 2016-toldH                 that he ~ e
           left after she fell asleep and "that wasn't okay."      responded, "ok." -
           stated, "And please don't touch me especially when Pm sleeping."           !!!·b
                                                                                      re rted
           that he went ~ : o o m to watch a movie. While ~ e r e                            fell
           asleep. After she fell asleep, he fell asleep as well. W h ~ o e up an he
           ~ i n her room, she became upset. He repo1ted initially that at that time
           ~ a s becoming more distant, so when she asked him not to touch her, he
           thought she meant she wanted less contact with him. As with the other text messages
           discussed above, when pressed,           admitted he know she was talking about him
           physically touching her without her consent while she slept. See attached copy of the
           text message thread.

               Alleged Inddents ofStalking

           -            reported that w h    thi -were
                                                   e dating,          would show up on her floor
               unmv1ted and unesc01ted.               :eported that she told     he could not come to
               her floor uninvited, and he wo      respond, "It's o k a y . " _ RA repo1ted
               fl d'         at least twice walking unesco1ted on the floor. She knew he was dating
                         so the first time she told him that he had to be esco1ted. He responded, "Oh,
                   y, nd seemed to b1ush the situation off, but seemed to understand. On a second
               occasion, she told him again that he needed to be escorted, telling him, "We talked


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           about this before." The RA reported that     was always polite when she spoke
           with him, and she always had a good impression of him.

           -         reported that on another occasion, when she was out of town for the
            weekend,        entered her room without permission and reananged her furniture,
            clothing, and personal possessions. She repo1ted that she was very upset that he did
            this. She had spoken to him before about moving a futon around in the room, but
            much more had been moved around by           that she wanted. She also repo1ted that
            she did not expect him to make any changes without her knowledge

                 repo1ted t h ~ had expressed a desire to move her furniture around. He
           decided that he wanted to s u r p ~ decided to move her furniture for her.
                 rep01ted that he spoke ~ R A about g a ~ to her room while
           she was out of town for a weekend,        repmted t h ~ R A gave him
           pe1mission to enter her room and even unlocked the door s ~ o u l d complete
           his surprise rea1Tangement of her room.        repo1ted t h ~ a s surprised
           and happy with the room rea11·aii!ent.The RA recalled a brief conversation in
           which         referenced surprising        in some manner, but did not recall the
           details. She repo1ted that she only    a couple of interactions with        and they
           were in passing in the hallways and common s ~ RA was confident that she
           did not provide "permission" for      to e n t e r - - room and did not unlock
           her door so that he could enter. -       repo1ted that during the· time that she was
           gone, she had misplaced her key, and it was possible that she had left her door
           unlocked during her absence.

           - a l s o reported that during the early sp1ing 2016 semester,             seemed to
           ~ e in places she was going to, such as a lounge area in the Armory utilized by
           ROTC members or dining comts she frequented. She rep01ted that the hours
           was in the lounge were very unusual because he had no reason to be in the Almory.
            She repmted that she used the lounge in between classes and Rifle Team practice.
            After a few weeks,        stopped using the lounge. While he was in there lounge
            with her, she reported that he would stare at her and make her uncomfo1table. She
            repo1ted that his presence it was "intimidating." In late February 2016, _
            repo1ted that       a11ived on the ~ e r residence hall unescmted and gave her
            resi~tant a bottle opener. ~ o r t e d that                      told the RA, "l can't
            findllllllllll can you give her this?" .......repo1ted that the RA told Harb he
            could not be in the floor unescorted agam.         rep01ted that he was returning a
            c h a l l e ~ He reported that he did go to her floor unesco1ted and did
            not f i n d ~ m , so he gave the coin to her RA.

            In response to      taking her the bottle opener or challenge coin and aniving on her
            floor uninvited and unescorte~sent                  a text message on Febrnary 22,
            2016, and told him not to come to her room "under any circumstance."
            reciprocated and asked her not to come to his room.         repo1ted that he did not
            know why she was so upset at him, so he started to respond to text messages with

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            poetry, which further u p s e t - They continued to share text messages until
            February 23, 2016.

           -       sent       one last message on March 15, 2016, and accused him of
           damaging her room when he rean-anged it. She rep011ed that he placed screws in the ·
           walls which caused damage that she was responsible for. The last contact they had
           with each other was a group breakfast together in the middle of March 2016.

            All text messages were provided by     . -        reported that she had deleted the
            messages from her phone and no longer had access to the messages.

            VII.   Conclusion

            It was repo11ed that        -relationship w i t h - was his first romantic
            relationship. Evidence supports that although he believed many of his actions were
            good intentioned and for the purpose of caring f o r - he crossed lines that
            made -          uncomfortable. Specifically, entering her room and real1'anging her
            personal belongings without consent. Further, when asked about the incident,
            reported that a resident advisor provided him with permission and unlocked
            door so that he could "surprise" her; however, a preponderance of the evidence
            supports that that did not occur.

                  also apologized to -       profusely in text messages. He explained the
            apologies were because he had lied to her about his own school work to help her with
            her own. However, when message around those apologies were reviewed, statements
            made b y - brougl1~anation into question. When                         was asked to
            clarify his apologies w i ~ statements of inappropriate touching, he
            reluctantly confirmed that he was apologizing for that touching as well.

                    uncomfortable, awkward, and unconfident clarification of the text message
            admission to violating -        combined with the apparent dishonesty regarding his
            entl'ance into her do1m room have led us to dete1mine that he is not a credible
            witness. Evidence does supp011 that -         was a credible witness. Therefore, we
            believe that a preponderance of the evidence supports that         admission to
            - t h a t he digitally penetrated her vagina without her consent while she was
            sleeping was an accurate statement and the event did occur. Evidence also supports
            that       touched- while she was sleeping in an unwanted and nonconsensual
            way in December 2015.

             Therefore, this investigation determined that a preponderance of the evidence
             suppo11s that       violated the University's Anti-harassment policy.




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            Vlll. Recommendations

            Based upon a preponderance of the evidence, we find the allegations of sexual
            harassment, specifically sexual violence, against                   are substantiated.
            Therefore, we do find a violation.o f the Anti-Harassment (III.C.1) policy. Taking
            into consideration all relevant facts, our recommendation is as follows:

                1.         should be suspended from Purdue University from the date ofthe final
                     decision in this case for a period of one full academic year to indicate.how
                     detrimental his misconduct is fo the University. Suspension, as defined in
                     Section A.5 of the University Regulations, means that during this time,
                     would be ineligible to register for any academic·programs under the
                      sponsorship of Purdue University.including, but not limited to, regional
                      campuses and Statewide Technology locations. This sanction should not
                     ·appear on his academic transcript.

                2. The no contact order that was initiated prior to this investigation should
                   maintain in effect until ~ompletes her CutTent academic program.

                3. As a condition of any re-entry,      should be required to complete the .90-
                   minute bystander intervention training or equivalent program offered by the
                   Vice President for Ethics and Compliance or Center for Advocacy, Response,
                   and Education (CARE).

                4. As. a condition of any re-entry,     should also be required to meet with
                   Chris Greggila, Assistant Director, CARE, prior to returning to the university
                   and one time per month during his first semester of retum.        should
                   contact Mr. Greggila at cgreggila@purdue.edu to schedule these meetings.




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     Sent to                  on Wed Dec 23, 2015 12:40 AM
     Message : But i do!
     Sent to                   on Wed Dec 23, 2015 12:40 AM
     Message : Please, im just trying to figure out what to do
     Sent to                   on Wed Dec 23, 2015 12:41 AM
     Message: I still want to be with you!
     Sent to                  on Wed Dec 23, 2015 12:41 AM
     Message : I love you
     Received from                    on Wed Dec 23, 2015 12:42 AM
     Message : Well stop freaking out about stuff like that
     Sent to                  on Wed Dec 23, 2015 12:43 AM
     Message : Im trying
     Received from                 on Wed Dec 23, 2015 12:50 AM
     Message : Why? Seriously why? And then why do you do what you do ?
     Sent to                   on Wed Dec 23, 2015 12:52 AM
     Message: I dont know... im sorry
     Received from                   on Wed Dec 23, 2015 12:52 AM
     Message : Stop saying sorry and explain or do something to change it
     Received from                    on Wed Dec 23, 2015 12:56 AM
     Message : Shit I'm being awful to you I'm sorry I'm upset with my mom not you
     Sent to                   on Wed Dec 23, 2015 12:56 AM
     Message: No
     Sent to                   on Wed Dec 23, 2015 12:57 AM
     Message : You're right
     Received from                      on Wed Dec 23, 2015 12:58 AM
     Message:?
     Sent to                    on Wed Dec 23, 2015 12:59 AM
     Message: Im trying to change. I just feel like I've lost track of who I am and I am
     scared because I am drifting from God and I dont even know what I want to do
     anymore and I just freaked out hardcore all finals week and couldnt think straight
     at all and i made some really bad decisions and hurt you and now i feel like we're
     at odds and i keep trying to fix things and they only get worse




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     Received from                  on Wed Dec 23, 2015 01:00 AM
     Message: Hey, calm down it just takes time okay?
     Sent to                     on Wed Dec 23, 2015 01:02 AM
     Message : I just feel like i cant do this anymore
     Received from                    on Wed Dec 23, 2015 01 :02 AM
     Message : Do what?
     Sent to                   on Wed Dec 23, 2015 01:02 AM
     Message : Anything
     Received from                  on Wed Dec 23, 2015 01:03 AM
     Message : Yes you can I know you can you've done too much and gone through
     too much to say That

     Sent to                  on Wed Dec 23, 2015 01 :06 AM
     Message : I just hate myself right now
     Received from                  on Wed Dec 23, 2015 01:06 AM
     Message : You're so amazing please don't say that
     Sent to                   on Wed Dec 23, 2015 01:12 AM
     Message : Im so sorry i did what i did to you. I just cant change it no matter how
     much i want to, im just messed up and im a terrible person

     Received from                  on Wed Dec 23, 2015 01:13 AM
     Message : Yes you can you can change it
     Sent to                  on Wed Dec 23, 2015 01 :15 AM
     Message : I cant change what i did
     Received from                    on Wed Dec 23, 2015 01:15 AM
     Message : I promise you can it just takes time
     Received from                   on Wed Dec 23, 2015 01:15 AM
     Message : I can forgive you though and you can get better




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     Sent to                   on Mon Dec 28, 2015 03:55 PM
     Message : Can I tell you something?
     Received from                      on Mon Dec 28, 2015 03:56 PM
     Message : What
     Sent to                 on Mon Dec 28, 2015 03:57 PM
     Message : I wouldnt mind living my life as a missionary in a third world country.

     Sent to                  on Mon Dec 28, 2015 03:57 PM
     Message : As funny as it may sound.
     Received from                      on Mon Dec 28, 2015 03:57 PM
     Message : You've told me that
     S e n t ~ on Mon Dec 28, 2015 03:58 PM
     Message : Not like this.
     Received from                  on Mon Dec 28, 2015 03:58 PM
     Message : What do you mean like this?
     Sent~onMonDec28,201503:59PM
     Message: I...
     Sent to                 on Mon Dec 28, 2015 03:59 PM
     Message : I dont !mow how to explain it
     Received from                    on Mon Dec 28, 2015 03:59 PM
     Message : Telling me is telling me
     Received from                      on Mon Dec 28, 2015 04:01 PM
     Message : I can't do this.
     Sent to                      on Mon Dec 28, 2015 04:01 PM
     Message : What?
     Received from                      on Mon Dec 28, 2015 04:01 PM
     Message : I can't do this
     Sent to                      on Mon Dec 28, 2015 04:02 PM
     Message : Yes you can
     Received from                   on Mon Dec 28, 2015 04:02 PM
     Message : Talk to you right now
     Sent to                      on Mon Dec 28, 2015 04:02 PM
     Message: ok
     Sent to                 on Mon Dec 28, 2015 04:1 l PM
     Message : Am I upsetting you?




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     Received from                   on Mon Dec 28, 2015 04:12 PM
     Message : Everything is
     Sent to                 on Mon Dec 28, 2015 04:12 PM
     Message : You do this every time. You shut me out.

     Received from                   on Mon Dec 28, 2015 04:13 PM
     Message : Yep
     Sent to                   on Mon Dec 28, 2015 04:14 PM
     Message : Why
     Received from                  on Mon Dec 28, 2015 04:14 PM
     Message: What are you going to do?
     Sent to                  on Mon Dec 28, 2015 04: 15 PM
     Message : Thats not the point
     Received from                   on Mon Dec 28, 2015 04:15 PM
     Message : What's the point
     Sent to               on Mon Dec 28, 2015 04:15 PM
     Message : Communicating
     Received from                   on Mon Dec 28, 2015 04: 15 PM
     Message : Why?
     Sent to                   on Mon Dec 28, 2015 04:16 PM
     Message : It can help
     Received from                     on Mon Dec 28, 2015 04:16 PM
     Message : Yeah I've tried and it doesn't so no
     Sent to                 on Mon Dec 28, 2015 04: 17 PM
     Message : Would you like if I walked away from you every time something upset me, and
     ignored you every time you asked me to explain what was wrong? Because that is how I feel
     right now.

     Received from                    on Mon Dec 28, 2015 04:18 PM
     Message : If that's how you handle things fine
     Sent to                 on Mon Dec 28, 2015 04: 19 PM
     Message : Then im done.

     Received from·                   on Mon Dec 28, 2015 04:19 PM
     Message : With?
     Received from                    on Mon Dec 28, 2015 04:29 PM
     Message :     ?
      Received from                   on Mon Dec 28, 2015 05:45 PM
      Message : K bye




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     Received from                     on Mon Dec 28, 2015 05:52 PM
     Message : And you do you literally get up and leave without saying a word you do and I always
     tell you what's wrong or what's upsetting me and the fact that you don't understand that is not my
     fault I'm not going to spend an hour spelling out every single detail for you

     Sent to                  on Mon Dec 28, 2015 07:35 PM
     Message : I was in a conceit
     Sent to                     on Mon Dec 28, 2015 07:46 PM
     Message : And you never tell me whats going on. It's always you being really vague by saying
     "everything" or "family" but usually you just say you dont want to talk about it. It is not at all fair
     for you to tell me that its my fault when you refuse to even talk to me. I have asked you multiple
     times if you want to talk and you always say no. Always. I try to understand, but you give me
     nothing then get angry when I have no idea what the problem is. And then you get upset and call
     me out whenever I dont respond to you, which is literally exactly what you do. Im afraid to even
     talk about things with you because whenever we disagree on something it becomes an argument,
     and I dont want to argue. You tell me that i have a sho1t temper, but you are always angry
     whenever something goes wrong for you and you shut me out. You dont even try to change that.
     You tell me that communication doesnt help, yet whenever I dont talk to you you get pissed off
     at me. I don't know what it is you want, because whenever I try to help or improve the situation,
     it always ends up getting worse.

     Received from                     on Mon Dec 28, 2015 10:21 PM
     Message : That is not true I get mad when you won't just leave me alone about things when I
     don't talk about and I get mad when you just up and leave and when you pout and whine like a
     little child

     Received from                       on Mon Dec 28, 2015 10:22 PM
     Message : Or when I wake up to you touching me or I'm trying to do something and you just
     touch me I literally can't trust you if you don't respect my boundaries

     Sent to                 on Mon Dec 28, 2015 10:37 PM
     Message : We already went over this several times. I cant even apologize any more because you
     get angry at me for it.

     Received from                   on Mon Dec 28, 2015 10:38 PM
     Message : No I get angry because you continue to do it andjust say sorry you don't actually
     change Anything

     Sent to                   on Mon Dec 28, 2015 10:56 PM
     Message: Im not going in circles any m o r e - What more do you want me to say? Do you
     want this to be over? We have literally talked about this for a week and I already told you I cant
     change what i did, only what i will do from here on out. Do you want me to feel shitty for the
     rest of my life because of what I did? Im feeling like i will. Im sorry. I cant change what i did, as
     much as i want to. I violated you and never should have. What do you want me to do?




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    Received from                    on Mon Dec 28, 2015 11 :20 PM
    Message : To actually change it you're still doing the same things you did when we fast started
    going out! You're not changing it you're not you just say you will and you don't




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    Received from                     on Thu Jan 14, 2016 11:52 AM
    Message : That wasn't okay
    Sent to                   on Thu Jan 14, 2016 11 :53 AM
    Message:?
     Received from                    on Thu Jan 14, 2016 11:54 AM
     Message : You should've left after I fell asleep or woken me back up
     Sent to                  on Thu Jan 14, 2016 12:00 PM
     Message: ok
     Received from                  on Thu Jan 14, 2016 12:03 PM
     Message: And please don't touch me especially when I'm sleeping




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